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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION

 ROBERT HOLMAN,                                    )
                                                   )
           Plaintiff,                              )
                                                   )
           v.                                      ) Civil Action No. 1:21-cv-01085-STA-jay
                                                   )
 THOMAS J. VILSACK, in his official                )
 capacity as Secretary of the United States        )
 Department of Agriculture, and                    )
                                                   )
 ZACH DUCHENEAUX, in his official                  )
 capacity as Administrator of the Farm Service     )
 Agency,                                           )
                                                   )
           Defendants.                             )


                                             ORDER


       On August 2, 2021, the Court denied Defendants’ motion to stay proceedings pending

resolution of related class action. (ECF No. 49.) On October 15, 2021, Defendants filed a motion

asking the Court to reconsider its order. (ECF No. 58.) On October 22, 2021, the Court partially

granted the motion and stayed discovery and other case deadlines pending resolution of

Defendants’ motion to dismiss. (ECF No. 59.) Subsequent to that order, Plaintiff filed a “notice”

of supplemental authority purportedly in opposition to the motion to reconsider. (ECF No. 66.)

Defendants have filed their own notice of supplemental authority in support of the motion. (ECF

No. 67.)

       The parties appear to be under the misapprehension that the Court did not fully rule on the

motion to reconsider and that the issue of whether to stay the case in its entirety is still pending.

To clarify, the portion of the motion seeking to stay the entire case was not granted and, therefore,
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was denied.

      IT IS SO ORDERED.

                                    s/ S. Thomas Anderson
                                    S. THOMAS ANDERSON
                                    CHIEF UNITED STATES DISTRICT JUDGE

                                    Date: December 9, 2021




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